                            Case 19-20606       Doc 62    Filed 08/07/24    Page 1 of 1

                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Baltimore
                                   In re:   Case No.: 19−20606 − NVA    Chapter: 13

Thomas P. Snyder
Debtor

                                                     NOTICE

PLEASE TAKE NOTICE that a Virtual hearing will be held

on 8/27/24 at 11:00 AM
by videoconference or teleconference
(for hearing access information see www.mdb.uscourts.gov/hearings or call 410−962−2688)

to consider and act upon the following:

55 − Motion by Eric S. Steiner to Withdraw as Attorney for debtor Filed by Thomas P. Snyder. (Attachments: # 1
Proposed Order) (Steiner, Eric) Modified on 7/8/2024 to enhance text. (McKenna, Shannon).


57 − Line on behalf of Thomas P. Snyder Filed by Eric S. Steiner (related document(s)55 Motion to Withdraw as
Attorney filed by Debtor Thomas P. Snyder, 56 Court Instruction). (Steiner, Eric)


58 − Line on behalf of Thomas P. Snyder Filed by Eric S. Steiner (related document(s)55 Motion to Withdraw as
Attorney filed by Debtor Thomas P. Snyder, 56 Court Instruction, 57 Line filed by Debtor Thomas P. Snyder).
(Attachments: # 1 Exhibit) (Steiner, Eric)




NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 8/7/24
                                                          Mark A. Neal, Clerk of Court
                                                          by Deputy Clerk, Shannon McKenna
                                                          301−344−3390



Form ntchrgmdb (rev. 06/08/2020)
